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                                                        FILED
                                                        Oct 22, 2020
                                                    CLERK, U.S. DISTRICT COURT
                                                  EASTERN DISTRICT OF CALIFORNIA




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                        22nd
  October                20
               /s/ N. Cannarozzi


  NO BAIL BENCH WARRANT TO ISSUE.




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